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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     )     CRIMINAL NO.:
                                             )
                                             )     VIOLATION:
               v.                            )     40 U.S.C. § 5104(e)(2)(G)
                                             )     (Parading, Demonstrating, or Picketing in
REVA VINCENT,                                )     a Capitol Building)
                                             )
                                             )
               Defendant.                    )

                                      INFORMATION

The United States Attorney charges that,

                                           COUNT ONE

       On or about January 6, 2021, in the District of Columbia, Defendant REVA VINCENT,

willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol

Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))



                                            Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY
                                             D.C. Bar No. 481052



                                    BY:      ____________________________
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